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     Attorney for Defendant
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 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                       )       No. 2:15-CR-00125 GEB
10
                                                     )
                                                     )       STIPULATION REGARDING
11          Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
                                                     )       SPEEDY TRIAL ACT; [PROPOSED]
12
     v.                                              )       FINDINGS AND ORDER
                                                     )
13
     BENJAMIN MACIAS,                                )
                                                     )
14
                                                     )
            Defendant.                               )
15
                                                     )
                                                     )
16
                                                     )
17

18                                       STIPULATION
            Plaintiff United States of America, by and through its counsel of record, and the
19
     defendant, by and through each counsel of record, hereby stipulate as follows:
20

21          1.      By previous order, this matter was set for status on December 9, 2016.

22          2.      By this stipulation, the defendant now moves to continue the status conference
23
     until January 27, 2017, at 9:00 a.m. a.m. and to exclude time between December 9, 2016, and
24
     January 27, 2017, under Local Code T4. Plaintiff does not oppose this request.
25

26
            3.      The parties agree and stipulate, and request that the Court find the following:

27          a.      There are 420 pages of numbered discovery and number audio and video
28
     recordings.


                                                         1
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            b.      Counsel for the defendant desires additional time to consult with his client, to
 1

 2   review the current charges, to conduct investigation and research related to the charges, to review

 3   and copy discovery for this matter, to discuss potential resolutions with his client, to prepare
 4
     pretrial motions, and to otherwise prepare for trial.
 5
            c.      Counsel for the defendant believes that failure to grant the above-requested
 6

 7
     continuance would deny him the reasonable time necessary for effective preparation, taking into

 8   account the exercise of due diligence.
 9          d.      The government does not object to the continuance.
10
            e.      Based on the above-stated findings, the ends of justice served by continuing the
11
     case as requested outweigh the interest of the public and the defendants in a trial within the
12

13   original date prescribed by the Speedy Trial Act.

14          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
15
     et seq., within which trial must commence, the time period of December 9, 2016, and January 27,
16
     2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
17
     T4] because it results from a continuance granted by the Court at defendant’s request on the basis
18

19   of the Court's finding that the ends of justice served by taking such action outweigh the best

20   interest of the public and the defendants in a speedy trial.
21
            4.      Nothing in this stipulation and order shall preclude a finding that other provisions
22
     of the Speedy Trial Act dictate that additional time periods are excludable from the period within
23
     which a trial must commence.
24

25   //

26   //
27
     IT IS SO STIPULATED.
28




                                                       2
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                                              PHILLIP A. TALBERT
 1
     Dated: December 8, 2016                  ACTING U.S. ATTORNEY
 2
                                       By:    /s/ David D. Fischer for
 3                                            PAUL HEMESATH
                                              Assistant U.S. Attorney
 4
                                              Attorney for Plaintiff
 5

 6   Dated: December 8, 2016                  /s/ David D. Fischer
 7
                                              DAVID D. FISCHER
                                              Attorney for Defendant
 8                                            BENJAMIN MACIAS
 9

10                                           ORDER
11            UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered
12   that the December 9, 2016, status conference hearing be continued to January 27, 2017, at
13   9:00 a.m. Based on the representation of defense counsel and good cause appearing
14   therefrom, the Court hereby finds that the failure to grant a continuance in this case
15   would deny defense counsel reasonable time necessary for effective preparation, taking
16   into account the exercise of due diligence. The Court finds that the ends of justice to be
17   served by granting a continuance outweigh the best interests of the public and the
18   defendant in a speedy trial. It is ordered that time beginning from December 9, 2016, up
19   to and including the January 27, 2017, status conference shall be excluded from
20   computation of time within which the trial of this matter must be commenced under the
21   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4,
22   to allow defense counsel reasonable time to prepare.
23

24   IT IS SO FOUND AND ORDERED.
25   Dated:    December 8, 2016

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